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OAO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                       Eastern District of California

                    United States of America                         )
                               v.                                    )
                                                                     )   Case No: 2:05CR00034-03
                  DAVID TALCOTT USSERY
                                                                     )   USM No: 15710-097
Date of Previous Judgment: September 12, 1996                        )   David Porter, Assistant Federal Defender
(Use Date of Last Amended Judgment if Applicable)                    )   Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of U the defendant ’ the Director of the Bureau of Prisons ’ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
       ’ DENIED. U GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 165        months is reduced to 143 months                 .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    32               Amended Offense Level:                                              32
Criminal History Category: VI               Criminal History Category:                                          VI
Previous Guideline Range: 210 to 262 months Amended Guideline Range:                                            210      to 262   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
’ The reduced sentence is within the amended guideline range.
T The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
’ Other (explain):




III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated 09/12/1996                   shall remain in effect.
IT IS SO ORDERED.



Order Date:         05/22/2008
                                                                                                  Judge’s signature



Effective Date:                                                             Lawrence K. Karlton, United States District Judge
                     (if different from order date)                                             Printed name and title
